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          IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF GEORGIA
                    ATLANTA DIVISION


 Oswald Thompson, Jr., et al.,

                        Plaintiffs,    Case No. 1:16-cv-04217

 v.                                    Michael L. Brown
                                       United States District Judge
 Sheriff Theodore Jackson and
 Mark Adger,

                        Defendants.

 ________________________________/


                        OPINION AND ORDER

      Before the Court is Plaintiffs’ Motion to Certify Class (Dkt. 19). For

the reasons below, the Court grants Plaintiffs’ motion.

I.    Background

      Since 2006, the Fulton County Jail has operated under a consent

decree requiring it to release inmates within 24 hours of the time they

become eligible for release. See Order, Harper v. Fulton County, No.

1:04-cv-1416 (N.D. Ga. Dec. 21, 2005), Dkt. 89 at 8. Plaintiffs in this

putative class action are former inmates at the jail. They allege that

Fulton County Sheriff Theodore Jackson and Fulton County Chief Jailer
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Mark Adger violated their constitutional rights by detaining them in the

jail after they were eligible for release.

      A.    Facts

      When the jail books an inmate into its custody, it runs the inmate’s

name through the Georgia Crime Information Center (“GCIC”) database.

Dkt. 9 at ¶ 37. It does this to determine whether the inmate has any

warrants or law-enforcement detainers. Id. After receiving information

that an inmate has posted bond, has had charges dropped, or is otherwise

eligible for release, the jail re-runs the inmate’s name through GCIC

before releasing the inmate. Id. at ¶¶ 37, 118. If there are no active

warrants, detainers, or holds, the jail releases the inmate. Id. at ¶ 37.

      No state law, federal law, rule, or regulation requires the jail to run

the GCIC check before releasing an inmate. Id. at ¶ 38. The Fulton

County Sheriff’s Office adopted this policy on its own and has the

authority to waive it. Id. at ¶¶ 36–37, 39, 40.

      Unfortunately, the GCIC system has a history of outages, some

lasting days. Id. at ¶ 41. Defendant Adger issued a directive allowing

the release of inmates during an outage only if the inmates had been

booked into the jail within 48 hours of the outage or met certain other



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criteria not applicable here. Id. at ¶ 42. Neither he nor Defendant

Thompson waived the requirement for GCIC checks for all other inmates

eligible for release during a GCIC outage. Id. at ¶¶ 44–88. Plaintiffs

allege that Defendants’ conduct caused the continued detention of

inmates otherwise eligible for release whenever an outage occurred. Id.

at ¶ 103. They allege that Defendants were aware of this issue and thus

allowed or caused their subordinates to “overdetain” inmates when the

GCIC system was not working. Id. at ¶ 105.

     Plaintiffs claim the GCIC system became inoperable for at least ten

days in November 2014. Id. at ¶ 35. They also allege that they — and

other inmates — posted bonds or otherwise became eligible for release

during that outage. See, e.g., Id. at ¶¶ 46, 50, 55, 60, 65, 70, 74, 78, 82,

86. But, Plaintiffs allege Defendants’ policy of requiring CGIC checks

even during system outages caused them to be detained. Id. at ¶¶ 91, 95.

Plaintiff Thompson, for example, alleges that police booked him into the

jail for speeding on November 13, 2014. Id. at ¶ 45. A court issued and

he posted a bond the next day, but the jail did not release him because

the GCIC system was not working. Id. at ¶ 46. He remained in custody

for more than four days until the charges were dismissed. Id. at ¶ 47.



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He claims Defendants and their subordinates illegally detained him for

106 hours. Id. The other Plaintiffs allege similar facts showing that

Defendants and their subordinates detained them for several days after

they posted bonds or otherwise became eligible for release. Id. at ¶¶ 49–

88.

      B.     Procedural History

      Plaintiffs initially filed their claims in Fulton County Superior

Court.     Dkts. 1-7; 1-23.   They amended their complaint twice, and

Defendants removed the Third Amended Complaint to this Court. Dkts.

1-1; 1-9; 1-21.

      The Court granted Defendants’ motion dismissing Plaintiffs’ claims

against “John Doe” defendants, Plaintiffs’ claims against Defendants

Thompson and Adger in their official capacities, and various state-law

claims.    Dkt. 16.   Only Plaintiffs’ individual-capacity § 1983 claims

against the two Defendants remain.           Plaintiffs moved for class

certification of those claims.

II.   Legal Standard

      A district court has broad discretion in determining whether to

certify a class. Washington v. Brown & Williamson Tobacco Corp., 959



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F.2d 1566, 1569 (11th Cir. 1992). “Before a district court may grant a

motion for class certification, a plaintiff seeking to represent a proposed

class must establish that the proposed class is adequately defined and

clearly ascertainable.” Little v. T-Mobile USA, Inc., 691 F.3d 1302, 1304

(11th Cir. 2012) (internal quotation marks omitted). A plaintiff must

“then establish the four requirements listed in Federal Rule of Civil

Procedure 23(a).” Id. That rule requires the plaintiff to show:

      (1) the class is so numerous that joinder of all members is
        impracticable;

     (2) there are questions of law or fact common to the class;

     (3) the claims or defenses of the representative parties are
        typical of the claims or defenses of the class; and

     (4) the representative parties will fairly and adequately
        protect the interests of the class.

Fed. R. Civ. P. 23(a). “These four requirements commonly are referred to

as ‘the prerequisites of numerosity, commonality, typicality, and

adequacy of representation,’ and they are designed to limit class claims

to those ‘fairly encompassed’ by the named plaintiffs’ individual claims.”

Piazza v. Ebsco Indus., Inc., 273 F.3d 1341, 1346 (11th Cir. 2001) (quoting

Gen. Tel. Co. of S.W. v. Falcon, 457 U.S. 147, 156 (1982)).




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     Once the party seeking certification shows that the Rule 23(a)

requirements have been satisfied, the party must still show that the

putative class meets at least one of Rule 23(b)’s requirements. Jackson

v. Motel 6 Multipurpose, Inc., 130 F.3d 999, 1005 (11th Cir. 1997).

Plaintiffs in this case allege that the proposed class satisfies Rule

23(b)(3), which provides that certification is appropriate if the “the court

finds that the questions of law or fact common to class members

predominate over any questions affecting only individual members, and

that a class action is superior to other available methods for fairly and

efficiently adjudicating the controversy.”

     The party seeking class certification bears the burden of showing

by a preponderance of the evidence that the proposed class meets Rule

23’s requirements. Brown v. Electrolux Home Prods., Inc., 817 F.3d 1225,

1233 (11th Cir. 2016). “All else being equal, the presumption is against

class certification because class actions are an exception to our

constitutional tradition of individual litigation.” Id. And to determine

whether class treatment is appropriate, the Court must undertake a

“rigorous analysis” of the elements of Rule 23(a) and (b). Comcast Corp.

v. Behrend, 569 U.S. 27, 35 (2013).



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III. Analysis

      Plaintiffs seek certification of a class of:

      All persons who were inmates at the Fulton County Jail
      between November 13 and November 21, 2014, who were
      detained for more than 24 hours past the time at which
      employees of the Fulton County Jail knew or should have
      known that the inmate was to be released, and whose
      overdetentions were caused by the jail policy not to release
      inmates without running GCIC checks, even when the GCIC
      system was experiencing an outage.

Dkt. 19-1 at 2. For the reasons below, the Court finds that the class is

ascertainable and satisfies the requirements of Rule 23(a) and Rule

23(b)(3).

      A.    Ascertainability1

      While not expressly mentioned in the rule, the Eleventh Circuit has

held that the existence of an ascertainable class of persons is an implicit

part of the Rule 23 analysis. Little, 691 F.3d at 1304. A class plaintiff,

therefore, must show that the proposed class is adequately defined and




1 Neither Plaintiffs nor Defendants briefed the issue of ascertainablility
during initial class certification briefing. As discovery progressed, the
Court became concerned that this requirement might pose an obstacle to
class certification and asked for additional briefing and oral argument on
ascertainablility. Dkts. 91–93. That process allayed the Court’s
concerns.


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clearly ascertainable. Id. An identifiable and ascertainable class exists

if its members can be identified by reference to objective criteria. Karhu

v. Vital Pharms., Inc., 621 F. App’x 945, 947 (11th Cir. 2015). The

analysis of the objective criteria should also be administratively feasible.

Id. “Administrative feasibility means that identifying class members is

a manageable process that does not require much, if any, individual

inquiry.” Bussey v. Macon Cty. Greyhound Park, Inc., 562 F. App’x 782,

787 (11th Cir. 2014) (internal quotation marks omitted). A plaintiff can

rely upon a defendant’s business records to identify class members.

Karhu, 621 F. App’x at 948. But, in doing so, the plaintiff must “establish

that the records are in fact useful for identification purposes, and that

identification will be administratively feasible.” Id.

       Plaintiffs have shown that the proposed class is sufficiently

ascertainable. First, Plaintiffs have pointed to objective criteria by which

to identify class members. The objective criteria are whether an inmate

was detained in the jail (during the relevant time) for more than 24 hours

after the inmate became eligible for release. Those who meet these

criteria are in the class. Those who do not are out. Second, Plaintiffs

have    shown   an   administratively    feasible   basis   for   identifying



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membership in the class.      Plaintiffs propose a two-step process: (1)

“identify any inmate released more than 24 hours after the jail received

notice that the inmate was eligible for release during the GCIC outage,”

and (2) “remove any inmate from the list whose release was not delayed

by the GCIC outage.” Dkt. 93 at 3.

     Finally, Plaintiffs have shown that they can reliably identify class

members by using the jail’s own records. Plaintiffs deposed Felecia Ivey,

who has worked at the Fulton Sheriff’s Office for twenty-five years, is the

jail’s current Criminal Information Systems Supervisor, and was a

Records and Document Specialist. Dkt. 93-7 at 11–13. She has extensive

knowledge of and involvement in the jail’s process for releasing inmates,

was involved in the process in 2014, and helped train other employees in

how to process inmates for release. Id. at 16–18, 25. She explained that,

when a court enters an order granting bond, sentencing a defendant to

time served, or otherwise ordering an inmate’s release, a “release-

triggering document” is sent to a records and document specialist at the

jail. Dkt. 93-7 at 39. The document indicates the time and date that the

inmate became eligible for release. Id.




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     If an inmate posts a bond, for example, the bonding officer delivers

a “Bond Release Verification” document to the jail’s records department.

The document includes a time stamp indicating when the inmate posted

the bond. Id. at 20–23. If a court orders a signature bond or bond that

does not require any payment or orders an inmate released for time

already served, the judge’s order comes back to the jail either physically

or via fax. Id. at 24–27, 31–34. If received via fax, it contains a time-

and-date stamp indicating when the jail received it. Id. If the document

is delivered to the jail with no such stamp, the jail employee stamps the

date and time the document was received. Id. at 23. In either event, the

release-triggering document contains a notation as to when the jail

learned that the inmate should be released.        The jail keeps these

documents. Id.

     For each inmate, the jail also creates and maintains a document

called a “1-Card.”   Id. at 36.   Upon receipt of a release-triggering

document, the jail employee makes a handwritten note on the inmate’s

1-Card to document the time that the jail became aware that the inmate




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was eligible for release. Id. at 37–40.2 Arguably the time stamp and the

1-Card notation should be the same or close to the same.           The jail

implemented the use of time stamps and notations on 1-Cards to comply

with the Harper consent decree. Id. at 80–82.

     The jail also has a computer system known as Odyssey. When the

jail employee receives a release-triggering document, the employee is

supposed to update the inmate’s Odyssey profile to indicate the inmate’s

eligibility for release. Id. at 40–41. The entry includes an electronic time

signature that provides further information as to when the jail learned

an inmate was eligible for release. Id.




2  The release triggering process can be slightly different in some
situations. Individuals arrested for the non-payment of child support, for
example, become eligible for release once they pay the amount owed.
Dkt. 93-7 at 43–44. They do so at the bonding window which provides a
“purge paid” notification. That notification is sent to the jail as the
release notification, just as any other bond. Id. Similarly, if a court
orders someone (typically a parent) to co-sign an inmate’s bond, the
inmate is ineligible for release until the co-signer does so. Id. at 45–46.
The co-signer signs the bond at the pretrial services office, which then
faxes a document confirming the signature (and eligibility for release) to
the jail. Id. These processes result in the jail receiving a document
setting forth the time and date the inmate became eligible for release.
Id. The jail employee uses this information to update the inmates’ 1-
Cards. Id. at 46.

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     The Harper consent decree also required the jail to report the

number of inmates released more than twenty-four hours after it received

notice that the inmate was eligible for release. Dkts. 1-25 at 167–71; 19-

3; 93-10 at 4. To comply with this process, the jail created a spreadsheet

that tracks eligibility and release information. Dkt. 93-3.

     Initially, Plaintiffs believed that the Harper spreadsheet would be

sufficient to identify inmates during the relevant time who were detained

more than twenty-four hours after becoming eligible for release. Dkt. 93

at 3. From this list, Plaintiffs proposed to simply remove those inmates

who had some other hold or legal process that prevented his or her

release. Id. at 5. Plaintiffs’ analysis, however, discovered that, while the

spreadsheet accurately tracks the date and time an inmate is released,

the spreadsheet does not accurately track the time at which the jail

learned an inmate became eligible for release. Id.

     To remedy this, Plaintiffs proposed to use the 1-Cards on which the

document specialist noted the time and date the jail learned the inmate

was eligible for release. Id. Plaintiffs then learned that this was not

always possible as some 1-Cards were missing, had no such notation, or

had illegible handwriting.     Id. at 9.   As a result, Plaintiffs used a



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combination of 1-Cards, the time-stamped release triggering documents,

and electronic time signature in the Odyssey system to determine when

each inmate became eligible for release. Id. at 6. By comparing the

accurate release information in the Harper spreadsheet with the release

eligibility information from these three other sources, Plaintiffs were able

to identify inmates detained for more than twenty-four hours after they

became eligible for release during the relevant time period. Id. at 3–8.

Within this group, Plaintiffs then excluded inmates whose release was

not delayed by the GCIC outage but rather by a foreign hold or other legal

impediment that prevented release. Id. at 8–13.

     Plaintiffs’ proposed process is administratively feasible. It is easily

manageable, involves little inquiry, and relies upon objective criteria. It

includes a review of the jail’s own files, an objective comparison of release

eligibility data and actual release data, and the exclusion of inmates held

for other reasons. While the process does require some individual review

of inmate files, that is insufficient to prevent class certification,

particularly given the cursory review required of each file simply to

identify the time the jail learned the inmate was eligible for release and

the existence of any other hold preventing the release.           Owens v.



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Metropolitan Life Ins. Co., 323 F.R.D. 411, 416 (N.D. Ga. 2017)

(“[Administrative feasibility] does not mean ‘that no level of inquiry as to

the identity of class members can ever be undertaken. If that were the

case, no Rule 23(b)(3) class could ever be certified.’”) (quoting Byrd v.

Aaron’s Inc., 784 F.3d 154, 171 (3d Cir. 2015)). Indeed, the Eleventh

Circuit has held that a plaintiff can use a defendant’s records to satisfy

the ascertainability standard if the plaintiff “also establish[es] that the

records are in fact useful for identification purposes, and that

identification will be administratively feasible.” Karhu, 621 F. App’x at

947. This fact supports the conclusion that some level of individual

review is acceptable.

     The parties’ efforts in this matter also validate the objective nature

and administrative feasibility of Plaintiffs’ method for identifying

proposed class members. Plaintiffs used the jail’s own records to identify

a group of inmates who, during the relevant time period, were detained

for more than 24 hours after the jail learned they were eligible for release.

Plaintiffs then excluded from the list all inmates whose overdetentions

were not caused by the GCIC outage — that is, inmates who had other




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holds or circumstances that prevented their release apart from the GCIC

outage. This two-step process identified 288 inmates. Dkt. 93 at 8.

     Plaintiffs sent this list to Defendants as part of a request for

admission. Defendants confirmed Plaintiffs’ assessment as to 256 of

those inmates, and provided reasoning for why Defendants disagreed

with the inclusion of thirty-two inmates. Dkts. 93 at 8; 93-1; 93-11. Upon

further assessment, Plaintiffs agreed that they had misinterpreted file

notations for eleven of those inmates and dropped them from the

proposed class.3 Dkt. 93 at 8–9. Plaintiffs corrected typos or simple

mistakes that Defendants noted for three others and left them in the

proposed class.4 Id.


3 One of the inmates Plaintiffs dropped from the class because of their
discussion with Defendants was Darrion Tripp, a named plaintiff. Dkt.
93 at 12. A review of Plaintiffs’ final proposed class list also indicates
that Plaintiffs concluded named Plaintiffs Daeja Mitchell and Tommie
Douglas are not actually members of the class. Dkt. 93-2. The Court’s
consideration of the motion for class certification is not based upon their
continued participation as class representatives.
4 More recently, Plaintiffs analyzed release data available in the Odyssey

system information for inmates whose files were missing or did not
contain time stamps. Dkt. 93-1. Plaintiffs identified thirty-six additional
class members through this process. Defendants have not yet reviewed
this list to confirm or challenge Plaintiffs’ assessment. Regardless, the
evidence shows that Plaintiffs have established a manner of using
Defendants’ records to identify class members and shows that the records
provide objective criteria to administratively identify member of the

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     The parties continue to dispute whether eighteen inmates should

be included in the proposed class. Id. at 9. Their dispute does not

challenge Plaintiffs’ overall methodology for satisfying acsertainability.

It primarily arises from disagreements as to the adequacy of file

notations. The files for eight of these eighteen inmates, for example,

contained no time stamp or written notation indicating when the jail

learned that the inmates were eligible for release.5 Id. at 17. But, these

inmates each received a bond or other order of release during a hearing

at the jail. Id. Such a hearing typically involves several inmates on the

same calendar. Id. A jail employee testified at deposition that a records

operator in the courtroom during the hearing is supposed to make

handwritten notes on the hearing calendar by each inmate’s name to

document the order of release pertaining to that inmate. Dkt. 93-7 at

114–15. The records operator then provides the notated calendar to the

document specialist who stamps the time of receipt on it and updates the



class. Plaintiffs have provided a spreadsheet that lists 313 class
members identified through Defendants’ records. The list includes 259
upon which there was agreement, thirty-six identified through Odyssey
but not yet confirmed by Defendants, and eighteen that are still in
dispute (and that are discussed herein).
5 Apparently, the jail failed to record this information as required by its

internal procedures.

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inmates’ 1-Cards with the release information. Id. The jail employee

testified that the records and document specialist would receive all the

release orders for inmates included in a hearing at the same time. Id. at

32, 113–15.

     For the eight inmates with files containing no time stamp or

handwritten notation, Plaintiffs reviewed time stamp information on

calendars in files for other inmates who had hearings at the same time

as these eight inmates. Id. at 17. Plaintiffs contend that — based on the

jail employee’s undisputed testimony — these records provide evidence

as to when the jail received notice that these eight inmates were eligible

for release. Id.

     By way of example, the jail’s file for inmate Alfred Clemmons

indicates that, during a 1:00 p.m. hearing on November 17, 2014, Judge

Portis ordered Mr. Clemmons released with credit for time served. Dkt.

93-13 at 8–10. The file contains no time stamp or handwritten notation

indicating when the jail employees responsible for processing his release

learned of the court’s order. Id. The copy of the 1:00 p.m. calendar in Mr.

Clemmons’s file contains a stamp, but it is too faint to read. Id. at 10.

Plaintiffs have established, however, that inmates Titus Jackson,



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Vincent Price, Hussaine Clark, and Jason Dawson were also on Judge

Portis’s 1:00 p.m. calendar on November 17, 2014. Id. at 13, 15, 18. Their

1-Cards all have handwritten notes indicating that the jail learned they

were cleared for release at 2:06 p.m. on that day. Id. Given the jail

employee’s testimony that the document specialist receives notification

of all inmates on a calendar at the same time, Plaintiffs’ argue that the

evidence in the other files establish that the jail also received notice of

Mr. Clemmons’s eligibility for release at 2:06 p.m. on that day. Id. at 18.

Plaintiffs offer a similar analysis for the other seven inmate files. The

undisputed facts provide sufficient grounds to determine the release

dates for these inmates and demonstrate that ascertaining their

inclusion in the class is based on objective criteria and is administratively

feasible.

      Plaintiffs and Defendants also disagree as to the impact of

notations concerning medical holds and requests for pre-release

interviews. Files for two of the remaining ten files in dispute contain a

reference to a “medical hold.” Id. at 18–19. Defendants apparently argue

that these inmates were detained after they became eligible for release

because they were receiving medical treatment, not because of the GCIC



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outage. Id. at 19. If true, this would take them out of the class. Plaintiffs

note, however, that both inmates were released — not from the medical

cell — but rather from a general population cell. Dkt. 93-13 at 43–44,

49–50.   Indeed, the inmate file for one indicates that he was medically

cleared about one month before his release. Id. at 38.       As a result, it

appears that the medical holds are irrelevant to the release

determination.

     Similarly, the files for three other inmates (including named

Plaintiff Sterling Palmer) indicate that their bond orders required an

interview by pretrial release services before they could be released. Id.

at 121. Defendants argue that these inmates cannot be part of the class

as their overdetention was caused by the interview requirement, not the

GCIC outage. Dkts. 93 at 13; 91 at 7. But, a jail employee testified that

the prelease interviews are scheduled only after the jail runs the GCIC

check. Dkt. 93-7 at 121. As a result, the GCIC outage prevented the

processing of these Plaintiffs’ releases, including the scheduling of their

interviews.

     Finally, Plaintiffs and Defendants dispute whether the remaining

five inmate files contain the necessary documents to identify the release



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data. This dispute appears to arise from communication errors — that

is, poor communication as to which documents they are examining and

where to locate the data rather than the absence of data. Dkt. 93 at 21

(cataloguing the disagreement as to operative pages in five files). But

again, this disagreement does not undermine the overarching conclusion

— that the operative class is adequately defined by objective criteria and

that there is an administratively feasible method for analyzing that

criteria and determining membership.

     Based on Plaintiffs’ rigorous efforts thus far and a review of the

undisputed evidence, the Court is satisfied that members of the proposed

class can be identified by reference to objective criteria and an

administratively feasible process. In other words, the proposed class is

“adequately defined and clearly ascertainable.” Little, 691 F.3d at 1304.

     B.    Numerosity

     To satisfy Rule 23(a)’s numerosity requirement, the class must be

“so numerous that joinder of all members is impracticable.” Fed. R. Civ.

P. 23(a)(1). The Eleventh Circuit has held that “[w]hile there is no fixed

numerosity rule, generally less than twenty-one is inadequate, more than

forty [is] adequate, with numbers varying according to other factors.”



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Cox v. Am. Cast Iron Pipe Co., 784 F.2d 1546, 1553 (11th Cir. 1986)

(internal quotation marks omitted).

     Plaintiffs initially argued that the proposed class satisfies the

numerosity requirement because the class is as large as 108 inmates.

Dkt. 19-1 at 8. As explained above, Plaintiffs and Defendants have now

agreed that the proposed class includes at least 256 inmates, with

Plaintiffs claiming even more.          Defendants, therefore, concede

numerosity, and the Court agrees. Dkt. 26 at 8. Because joinder of 256

or more class members would be impracticable under the circumstances

presented here, Plaintiffs have satisfied the numerosity requirement of

Rule 23(a)(1).

     C.    Commonality

     Rule 23(a)(2) requires that Plaintiffs show “questions of law or fact

common to the class.” Every issue of law or fact need not be the same for

each class member. Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 359

(2011) (“[F]or purposes of Rule 23(a)(2)[,] even a single common question

will do[.]”) (internal quotation marks omitted). Instead, a plaintiff must

point to a “single common question” that is “capable of classwide

resolution — which means that determination of its truth or falsity will



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resolve an issue that is central to the validity of each one of the claims in

one stroke.” Carriuolo v. Gen. Motors Co., 823 F.3d 977, 984 (11th Cir.

2016) (quoting Wal-Mart Stores, Inc., 564 U.S. at 350) .

     Plaintiffs have correctly identified several common questions.

Whether Defendants had a policy that required GCIC checks to be run

before releasing an inmate is a common question of fact.           Whether

Defendants required adherence to that policy (in whole or in part) during

a GCIC outage is a common question. Other common questions include

whether there was a GCIC outage in November 2014; whether

Defendants knew this outage and their policy of requiring GCIC checks

would cause inmates otherwise eligible for release to be incarcerated;

whether this alleged practice violated the Constitution; and whether

Defendants are liable under § 1983 for their supervisory role in failing to

release inmates who were legally eligible for release. Each proposed class

member’s claim will require an answer to these questions.

     Despite these common questions, Defendants contend that

commonality does not exist. They argue that whether an inmate was

unconstitutionally detained depends on whether the continuing

detention was “reasonable as it relates to that particular inmate[.]” Dkt.



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26 at 9. Defendants also contend that reasonableness “has the potential

to produce dissimilar results in a case where inmates had different

criminal backgrounds, were housed for different periods of time, and had

disparate charges.” Id. at 10.

     But Plaintiffs do not claim that their overdetentions were

unreasonable given their particularized (or individual) circumstances, so

that each class member’s circumstances become relevant.           Instead,

Plaintiffs allege that they were all intentionally detained for the same

reason and by the same event: Defendants’ decision to detain inmates

eligible for release during the November 2014 outage simply because they

wanted to run GCIC checks, and the GCIC system was down.                The

Eleventh Circuit has recognized “[t]he constitutional right to be free from

continued detention after it was or should have been known that the

detainee was entitled to release. . . .” Cannon v. Macon Cty., 1 F.3d 1558,

1563 (11th Cir. 1993). This right exists for an inmate who is eligible for

release regardless of the individual inmate’s criminal background, nature

of the current charges, or duration of incarceration. Those individual

facts may be relevant to a bond determination. But, once bond is granted

and posted, those considerations are irrelevant. Put another way, once a



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judge decides that an inmate is eligible for release (and any conditions,

such as the posting of a bond, are met), the jail is obligated to release that

inmate without any “reasonableness” determination by the jail.

     Here, Plaintiffs have alleged that Defendants intentionally

detained them and others after their scheduled releases in violation of

the Fourth, Eighth, and Fourteenth Amendments. Because the same

practice and policy allegedly injured Plaintiffs, the causation elements of

their § 1983 claims are common to all Plaintiffs. The Court finds that

Plaintiffs have satisfied Rule 23(a)’s commonality requirement.

      D.    Typicality

      Rule 23(a)(3) requires that “the claims or defenses of the

representative parties [be] typical of the claims or defenses of the class.”

The class representative’s claims are typical if “the claims or defenses of

the class and the class representative arise from the same event or

pattern or practice and are based on the same legal theory.” Kornberg v.

Carnival Cruise Lines, Inc., 741 F.2d 1332, 1337 (11th Cir. 1984). In

other words, “[a] class representative must possess the same interest and

suffer the same injury as the class members in order to be typical under

Rule 23(a)(3).” Murray v. Auslander, 244 F.3d 807, 811 (11th Cir. 2001).



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The typicality requirement can be satisfied even if factual distinctions

exist between the claims of the class representatives and the other class

members.     “[A] strong similarity of legal theories will satisfy the

typicality   requirement   despite    substantial   factual   differences.”

Appleyard v. Wallace, 754 F.2d 955, 958 (11th Cir. 1985); see also Murray,

244 F.3d at 811 (“The typicality requirement may be satisfied despite

substantial factual differences, however, when there is a strong

similarity of legal theories.”) (internal quotation marks omitted). The

Eleventh Circuit has explained that typicality “does not require identical

claims or defenses.     A factual variation will not render a class

representative’s claim atypical unless the factual position of the

representative markedly differs from that of other members of the class.”

Kornberg, 741 F.2d at 1337.

     Plaintiffs seek to represent a class of people who were overdetained

between November 13 and November 21, 2014, during and because of the

GCIC outage and Defendants’ GCIC policies. Dkt. 19-1 at 2. Plaintiffs

have also alleged that they suffered the same injury. Plaintiff Oswald

Thompson, for example, alleges that he received and posted a bond on

November 14, 2014 — thus becoming eligible for release on that day.



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Dkt. 9 at ¶¶ 45–46. He also alleges that Defendants caused his detention

for another four days because the GCIC system was out. Id. at ¶ 47.

Each of the other Plaintiffs includes similar allegations.   Their claims

certainly arise from the same course of conduct as the other class

members. They also advance the same legal theory — that Defendants’

conduct violated their Fourth, Eighth, and Fourteenth Amendment

rights. See Dkt. 9.

     Defendants still contend that typicality fails because, while named

Plaintiffs allege that they were overdetained for three or more days, most

other class members were released within 48 hours of the time they

became eligible for release. This contrast is merely a difference in the

extent of the constitutional violation — or perhaps one way in measuring

the alleged constitutional violation. Despite the varying lengths of time

each Plaintiff was overdetained, they and the other class members are

pursuing the same legal theory based on the same conduct. They all

allege that Defendants violated their constitutional rights during the

same eight-day period by detaining them after they were eligible for

release because of the GCIC system outage and Defendants’ policy of

holding inmates pending a GCIC check.       The factual difference in the



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length of the detention cannot render Plaintiffs atypical of the class. The

Court is satisfied that Plaintiffs’ claims typify those of the class as a

whole. Plaintiffs have thus satisfied the typicality requirement of Rule

23(a)(3).

      E.    Adequacy

      Rule 23(a)(4) requires that that the class representatives show that

they have “common interests with unnamed class members and will

vigorously prosecute the interests of the class through qualified counsel.”

Piazza, 273 F.3d at 1346. “This adequacy of representation analysis

encompasses two separate inquiries: (1) whether any substantial

conflicts of interest exist between the representatives and the class; and

(2) whether the representatives will adequately prosecute the action.”

Valley Drug Co. v. Geneva Pharm., Inc., 350 F.3d 1181, 1189 (11th Cir.

2003) (internal quotation marks omitted). “If substantial conflicts of

interest are determined to exist among a class, class certification is

inappropriate.” Id.

      Defendants concede that no substantial conflicts of interest exist

between the representatives and the class. Dkt. 26 at 12. The Court

agrees. Defendants, however, challenge the qualifications of Plaintiffs’



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counsel to prosecute this action. Essentially, Defendants argue that they

can find no evidence that one of Plaintiffs’ lawyers has litigated in federal

court and that the other, while he has significant litigation experience,

“has not handled a class action as lead counsel from start to finish.” Id.

at 14. To establish adequacy of representation, class counsel must be

qualified, experienced, and generally able to conduct the litigation.

Griffin v. Carlin, 755 F.2d 1516, 1533 (11th Cir. 1985).     And, “[a]bsent

specific proof to the contrary, the adequacy of class counsel is presumed.”

Justice v. Rheem Mfg. Co., 318 F.R.D. 687, 695 (S.D. Fla. 2016) (citing In

re Seitel, Inc. Securities, 245 F.R.D. 263, 271 (S.D. Tex. 2007)).

     Plaintiffs’ counsel submitted affidavits establishing their litigation

experience in civil-rights actions and claims against the government. See

Dkts. 31-1; 31-2; 31-3. Ms. Stern has handled many criminal jury trials,

argued appeals to the Eleventh Circuit, been involved in civil-rights

lawsuits, and run her own law firm for the past five years. Dkt. 31-2.

Mr. Begnaud has been practicing for more than ten years, worked at a

well-respected law firm, served as a public defender where he tried many

cases, and (since opening his own firm) has litigated at least thirty civil-

rights cases in federal court, many of which involved prisoner claims.



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Dkt. 31-1. His partner, Mr. Horsley, has similar experience as a public

defender and has represented plaintiffs in more than twenty civil-rights

cases in federal court. Dkt. 31-3. The Court has also reviewed counsels’

conduct here, including their briefs and arguments at hearings. The

Court finds — with no doubt whatsoever — that Plaintiffs’ counsel is

qualified to litigate this action on behalf of the class. See Campos v.

ChoicePoint, Inc., 237 F.R.D. 478, 487 (N.D. Ga. 2006) (“The Court’s

review of the parties’ pleadings and the argument of counsel at the

Hearing indicates to the Court that adequacy of counsel is not an issue

here.”). Plaintiffs have satisfied Rule 23(a)(4)’s adequacy requirement.

     F.    Rule 23(b)(3) Predominance

     In addition to satisfying the Rule 23(a) requirements, Plaintiffs

must also satisfy at least one of Rule 23(b)’s requirements. Jackson, 130

F.3d at 1005. Plaintiffs contend that the proposed class satisfies Rule

23(b)(3), which requires that the Court “find[] that the questions of law

or fact common to class members predominate over any questions

affecting only individual members, and that a class action is superior to

other available methods for fairly and efficiently adjudicating the

controversy.”



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     “To determine whether the requirement of predominance is

satisfied, a district court must first identify the parties’ claims and

defenses and their elements.” Brown, 817 F.3d at 1234. Then, the Court

must “classify [those] issues as common questions or individual

questions. . . .” Id. If a question is common to the class, “the same

evidence will suffice for each member.” Id. (quoting Blades v. Monsanto

Co., 400 F.3d 562, 566 (8th Cir.2005)). If the evidence will “var[y] from

member to member,” the question is individual.          Id.   And “[a]fter

identifying the common and individual questions, the district court

should determine whether the common questions predominate over the

individual ones.” Id. at 1234–35.

     But the Eleventh Circuit has held that predominance requires a

qualitative assessment too; it is not “bean counting,” and the “‘relative

importance’ of the common versus individual questions also matters.” Id.

at 1235 (quoting Butler v. Sears, Roebuck and Co., 727 F.3d 796, 801 (7th

Cir. 2013); see also Rutstein v. Avis Rent-A-Car Sys., Inc., 211 F.3d 1228,

1234 (11th Cir. 2000) (explaining that predominance “can only be

determined after considering what value the resolution of the class-wide

issue will have in each class member’s underlying cause of action”). A



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court, therefore, should assess predominance with its overarching

purpose in mind: ensuring that “a class action would achieve economies

of time, effort, and expense, and promote . . . uniformity of decision as to

persons similarly situated, without sacrificing procedural fairness or

bringing about other undesirable results.” Amchem Prods., Inc. v.

Windsor, 521 U.S. 591, 615 (1997) (quoting Advisory Committee’s Notes

on 1966 amendment to Fed. R. Civ. P. 23).

     In the Court’s order on Defendants’ motion to dismiss, the Court set

forth the elements of Plaintiffs’ claim. Dkt. 16. In that order, the Court

recognized the well-settled “constitutional right to be free from continued

detention after it was or should have been known that the detainee was

entitled to release.” Id. at 16 (quoting Cannon, 1 F.3d at 1563). To show

a violation of this right, Plaintiffs must show “common law false

imprisonment and a due process violation under the Fourteenth

Amendment.” Id. at 17 (quoting Campbell v. Johnson, 586 F.3d 835, 840

(11th Cir. 2009)). False imprisonment requires proof of “an intent to

confine, an act resulting in confinement, and the victim’s awareness of

confinement.” Id. And to show a due process violation, Plaintiffs must

show that Defendants’ subordinates “acted with deliberate indifference



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to Plaintiffs’ due process rights.” Id. (quoting West v. Tillman, 496 F.3d

1321, 1327 (11th Cir. 2007)).     As the Court recognized, proof that

“Defendants’ subordinates knew that Plaintiffs were due for release[ ]but

continued to detain them anyway” would suffice to show deliberate

indifference in this context. Dkt. 16 at 18. Finally, because Defendants

are supervisory officials, Plaintiffs must show that Defendants

“personally participate[d] in the unconstitutional conduct or there is a

causal connection between such conduct and the defendant’s actions.” Id.

at 20 (quoting Harper v. Lawrence Cty., 592 F.3d 1227, 1236 (11th Cir.

2010)).

     All the class members were injured by the same event —

Defendants’ refusal to release inmates otherwise eligible for release

during the eight-day GCIC outage in November 2014. Dkt. 19-1 at 2.

And Plaintiffs allege that Defendants violated their constitutional rights

in the same way, with a common course of conduct and intent. Id.

Whether there was an intent to confine and an act of confinement will be

susceptible to class-wide proof.      This will include evidence that

Defendants required GCIC searches before releasing inmates, were

aware of the outage on November 2014, and knew the combination of the



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outage and their policy would result in the overdetention of some

inmates.

     The same proof will also be relevant to deliberate indifference —

that is, whether the evidence shows Defendants’ subordinates were

aware Plaintiffs were due for release but continued to detain them

anyway. Finally, Defendants’ supervisory responsibility is a common

question that will depend on these same core — and common — facts.

     Admittedly, this matter involves some individualized proof, most

notably showing that each class member was legally eligible for release

during the relevant time but detained because of the outage and that

Defendants’ subordinates were aware the class members were eligible for

release.   But, as explained above, the jail’s own records provide a

relatively simple process for making this determination.       Individual

issues will not overwhelm the common issues presented by Plaintiffs’

allegations.

     At bottom, common questions predominate over individualized

questions here because Plaintiffs identify a specific policy enacted by

Defendants that caused their overdetentions during the GCIC outages in




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November 2014. Defendants’ common policy is the glue that holds these

claims together.

     In Driver v. Marion Cty. Sheriff, 859 F.3d 489 (7th Cir. 2017), a

group of inmates sued the Marion County Jail claiming the sheriff

implemented release practices and procedures that caused their

continued detention after they became eligible for release. The Seventh

Circuit reversed the denial of class certification, holding that class

treatment was appropriate because Plaintiffs pointed to a specific “policy

or practice [that] caused them to be detained for an unconstitutionally-

unreasonable length of time.” Id. at 492 (reversing denial of inmate

overdetention class-certification motion).     In doing so, the court

distinguished cases in which inmates merely alleged an unreasonable

delay in their release without pointing to a common policy that

intentionally caused the delay. Id. Here, Plaintiffs identify that policy

and, as a result, common questions predominate.

     Defendants argue, however, that “the pertinent question is if each

purported class member was overdetained or if the inmates’ continued

detention was a reasonable incident to administrative release. . . .” Dkt.

26 at 15. Defendants correctly recognize that once eligible for release,



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the jail must release an inmate within a reasonable time, and that

reasonableness considers the necessary administrative procedures

incident to release. See Powell v. Barrett, 376 F. Supp. 2d 1340, 1350-51

(N.D. Ga. 2005), rev’d on other grounds, 246 F. App’x 615 (11th Cir. 2007).

Because the time for reasonable administrative procedures may vary

from inmate to inmate, Defendants argue, class certification is

inappropriate. Dkt. 26 at 15.

     Defendants, however, ignore Plaintiffs’ core allegation that

Defendants refused to release them — not because of the administrative

process — but because they adopted a policy of deliberately detaining

people eligible for release during GCIC outages. A jail supervisor may

not knowingly detain someone past the point at which he or she knows

the person is eligible for release.      The liability of Defendants here,

therefore, turns on whether they adopted an unconstitutional policy that

caused the overdetention, not administrative delays. There is no reason

to believe that an assessment of the reasonableness of administrative

delays apart from the decision to wait for the GCIC check will be any part

of this matter.




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     Defendants    also   argue   that because     Defendants      allegedly

overdetained all class members for different amounts of time, and factors

other than the length of the overdetention may be relevant in a damages

calculation, individualized damages defeat predominance.        But every

circuit has recognized the “black letter rule” that that “individual damage

calculations generally do not defeat a finding that common issues

predominate.” Brown, 817 F.3d at 1239 (citation omitted). “[I]ndividual

damages defeat predominance if computing them “will be so complex,

fact-specific, and difficult that the burden on the court system would be

simply intolerable.” Id. at 1240. Moreover, “[d]istrict courts have many

tools to decide individual damages: (1) bifurcating liability trials and

damage trials with the same or different juries; (2) appointing a

magistrate judge or special master to preside over individual damage

proceedings; (3) decertifying the class after the liability trial and

providing notice to class members concerning how they may proceed to

prove damages; (4) creating subclasses; or (5) altering or amending the

class.” Id. at 1239 (internal quotations and citations omitted).

     Plaintiffs have proposed “setting a fixed amount of damages for

each class member for each claim according to a matrix or schedule.” Dkt.



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31 at 15. Although this might minimize individual damages questions,

it may not adequately account for each class member’s damages. The

Court does not believe Plaintiffs can simply conjure up a rule to avoid the

potential difficulties in quantifying each class member’s damages. But

the Court also does not believe that this is such a rare case that

individualized damages assessments defeat predominance. See Klay v.

Humana, 382 F.3d 1241, 1260 (11th Cir. 2004) (noting that cases in

which individualized damages assessments preclude class certification

“rarely, if ever, come along.”). At this stage, the Court finds that the tools

available to it in determining class members’ damages would be adequate

to calculate individual class member’s damages. The Court also finds

that calculating damages here would not be so “difficult that the burden

on the court system would be simply intolerable.” Id. Although the Court

reserves ruling on the proper measure for calculating damages, it is

satisfied   individualized    damages     assessments      do   not    defeat

predominance here. See Jones v. Murphy, 256 F.R.D. 519, 526 (D. Md.

2009) (same).

     Finally, the Court finds that under these circumstances, “a class

action is superior to other available methods for fairly and efficiently



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adjudicating the controversy.”     Fed. R. Civ. P. 23(b)(3).     The class

members’ claims here likely involve relatively small damages amounts.

And it is unlikely that class members would pursue these claims on their

own. The Court thus finds that the class action mechanism provides the

most efficient method of resolving Plaintiffs’ claims here. See Bynum v.

District of Columbia, 214 F.R.D. 27, 40 (D.D.C. 2003) (finding superiority

where “individual class members . . . were allegedly overdetained for

relatively short periods [and] may stand to recover only a small amount

of damages.”).

IV.   Conclusion

      For the foregoing reasons, the Court GRANTS Plaintiffs’ Motion to

Certify Class (Dkt. 19).

      SO ORDERED this 15th day of November, 2018.




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